Case 20-12465-JKS             Doc 1097       Filed 06/27/22 Entered 06/27/22 11:22:09                         Desc Main
                                            Document     Page 1 of 3



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 Attorneys for Debtors and Debtors-in-Possession

                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEW JERSEY

 In re:
                                                             Chapter 11
 Hajjar Business Holdings, LLC, et al.,1
                                                             Case No. 20-12465 (JKS)
                   Debtors.

              NOTICE OF EFFECTIVE DATE OF JOINT DEBTORS’ MODIFIED
               FIRST AMENDED CHAPTER 11 PLAN OF REORGANIZATION

 TO: ALL PARTIES IN INTEREST

 PLEASE READ THIS NOTICE CAREFULLY. IT CONTAINS DEADLINES TO
 ASSERT (I) REQUESTS FOR PAYMENT OF ADMINISTRATIVE EXPENSES THAT
 AROSE PRIOR TO THE EFFECTIVE DATE, AND (II) PROFESSIONAL FEE
 APPLICATIONS. THIS NOTICE ALSO CONTAINS ADDITIONAL INFORMATION
 THAT MAY AFFECT YOUR RIGHTS.

          PLEASE TAKE NOTICE that on June 5, 2022 (the “Confirmation Date”), the United

 States Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”) entered the



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   The debtors in these cases are: HMOB of Jersey City Owner, LLC, Case No. 20-12557-JKS; Hajjar Medical Office Building of
 Jersey City, LLC, Case No. 20-12472-JKS; HMOB of Wayne Owner, LLC, Case No. 20-12550-JKS; Hajjar Medical Office
 Building of Wayne, LLC, Case No. 20-12464-JKS; HMOB of Roseland Owner, LLC, Case No. 20-12552-JKS; Hajjar Medical
 Office Building of Roseland, LLC, Case No. 20-12466-JKS; HMOB of New Brunswick Owner, LLC, Case No. 20-12549-JKS;
 Hajjar Medical Office Building of New Brunswick, LLC, Case No. 20-12476-JKS; HMOB of Oradell Owner, LLC, Case No. 20-
 12551-JKS; Hajjar Medical Office Building, LLC, Case No. 20-12470-JKS; HMOB of Carlstadt Owner, LLC, Case No. 20-
 12553-JKS; Hajjar Medical Office Building of Carlstadt, LLC, Case No. 20-12467-JKS; HMOB of Hackensack Office Owner,
 LLC, Case No. 20-12555-JKS; Hajjar Medical Office Building of Hackensack, LLC, Case No. 20-12471-JKS; HMOB of
 Hackensack Warehouse Owner, LLC, Case No. 20-12556-JKS; Hajjar Warehouse of Hackensack, LLC, Case No. 20-12473-
 JKS; HMOB of Fair Lawn Owner, LLC, Case No. 20-12547-JKS; Hajjar Medical Office Building of Fairlawn, LLC, Case No.
 20-12468-JKS; HMOB of Glen Rock Owner, LLC, Case No. 20-12545-JKS; Hajjar Medical Office Building of Glen Rock,
 LLC, Case No. 20-12469-JKS; HMOB of Fair Lawn 15-01 Broadway Owner, LLC, Case No. 20-12536-JKS; Hajjar Business
 Holdings, LLC, Case No. 20-12465-JKS; HMOB of Mt. Kisco Owner, LLC, Case No. 20-12540-JKS; Hajjar Medical Office
 Building of Mount Kisco, LLC, Case No. 20-12474-JKS; HMOB of Miramar Owner, LLC, Case No. 20-12543-JKS; and Hajjar
 Medical Office Building of Miramar, LLC, Case No. 20-12475-JKS.
Case 20-12465-JKS        Doc 1097     Filed 06/27/22 Entered 06/27/22 11:22:09          Desc Main
                                     Document     Page 2 of 3



 Findings of Fact, Conclusions of Law, and Order Confirming the Joint Debtors’ Modified First

 Amended Chapter 11 Plan of Reorganization [Docket No. 1051] (the “Confirmation Order”).

 Unless otherwise defined herein, capitalized terms used in this Notice shall have the meanings

 ascribed to such terms in the Joint Debtors’ Modified First Amended Chapter 11 Plan of

 Reorganization [Docket No. 1051] (together with all exhibits thereto and related documents, the

 “Plan”).

           PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on

 June 22, 2022, which is the date on which all of the conditions to effectiveness of the Plan were

 satisfied or waived as provided in Article III.C. of the Plan.

           PLEASE TAKE FURTHER NOTICE that the Plan and its provisions are binding on,

 among others, the Debtors, all Holders of Claims and Equity Interests (irrespective of whether

 such Claims or Equity Interests are impaired under the Plan or whether the Holders of such

 Claims or Equity Interests voted to accept the Plan).

           PLEASE TAKE FURTHER NOTICE that copies of the Confirmation Order and the

 Plan are available for inspection during regular business hours in the office of the Clerk of the

 Bankruptcy Court for the District of New Jersey, Martin Luther King, Jr. Federal Building

 50 Walnut Street, Newark, NJ 07102, or by accessing the Bankruptcy Court’s website at

 http://www.njb.uscourts.gov. Please note that a CM/ECF password and login are required to

 access documents on the Bankruptcy Court’s website and there may be related charges to such

 access.

           PLEASE TAKE FURTHER NOTICE that, in accordance with Plan Article II.C.1.,

 each professional person requesting compensation in the case pursuant to Bankruptcy Code

 section 327, 328, 330, 331, 503(b) or 1103 shall file an application for allowance of final




                                                   2
 4891-7372-7010, v. 1
Case 20-12465-JKS       Doc 1097    Filed 06/27/22 Entered 06/27/22 11:22:09           Desc Main
                                   Document     Page 3 of 3



 compensation and reimbursement of expenses (the “Professional Fee Application”) with the

 Bankruptcy Court not later than September 5, 2022 (the “Professional Fee Bar Date”). Any

 Person who fails to timely file and serve their respective Professional Fee Application by

 the Professional Fee Bar Date shall not be paid.

          PLEASE TAKE FURTHER NOTICE that, in accordance with Plan Article II.C.1., all

 requests for payment of Administrative Expenses (other than Professional Fee Applications)

 must be filed with the Bankruptcy Court and served so as to be actually received within fifteen

 (15) days following the date the Confirmation Order became a Final Order or on or before July 7,

 2022 (the “Administrative Expense Bar Date”). Any Person who fails to timely file and serve

 such a request for payment of an Administrative Expense by the Administrative Expense

 Bar Date shall not be paid.


                                               McMANIMON, SCOTLAND
                                               & BAUMANN, LLC
                                               Debtors and Debtors-in-Possession

                                               By:    /s/ Sari B. Placona
                                                      Sari B. Placona
 Dated: June 27, 2022




                                                3
 4891-7372-7010, v. 1
